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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION, :
                                     :                   19 Civ. 9439 (PKC)
                         Plaintiff,  :
                                     :                   ECF Case
               -against-             :
                                     :                   Electronically Filed
TELEGRAM GROUP INC. and TON ISSUER   :
INC,                                 :
                                     :
                         Defendants. :
------------------------------------x

                        DECLARATION OF STEPHEN B. MCKEON

       I, Stephen B. McKeon, declare under penalty of perjury that the following is true and

correct:

       1.       I have been retained by the law firm, Skadden, Arps, Slate, Meagher & Flom LLP

(“Counsel”), attorneys for the Defendants in the above-captioned action, to review documents

related to this case and to opine on the economic features and objectives of the Telegram Open

Network (“TON”) blockchain and its native cryptoasset, Grams.

       2.       I am an Associate Professor of Finance at University of Oregon, a Visiting

Associate at the Cambridge Centre for Alternative Finance, and a Partner at Collaborative Fund,

a venture capital firm that invests in early stage technology and consumer goods companies. In

all three roles, my primary focuses are blockchains and cryptoassets.

       3.       I respectfully submit this declaration in support of Defendants’ Motion for

Summary Judgment and in Opposition to Plaintiff’s Application for a Preliminary Injunction and

to transmit true and correct copies of the following documents:

                Exhibit 1:            The December 27, 2019, Expert Report of Stephen B.
                                      McKeon, Ph.D., served by Defendants’ counsel the same
                                      day and prepared by Defendants’ economics and
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                                       cryptoassets expert, Stephen B. McKeon, Ph.D. (attaching
                                       Appendices A-C and Exhibits 1-4).

                Exhibit 2:             The January 10, 2020 Expert Rebutt    eport of Stephen B.
                                       McKeon, Ph.D., served by Defendants' counsel the same
                                       day and prepared by Defendants' economics and
                                       cryptoassets expert, Stephen B. McKeon, Ph.D. (attaching
                                       Appendices A and B).

       4.       I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief.



Executed on: Eugene, Oregon
             January 13, 2019                                      g 411
                                                       Stephen B. McKeon




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